     Case 3:17-cv-02446-D Document 15 Filed 10/12/17                       Page 1 of 13 PageID 139



                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION
SAMMI OWENS                                            §
                                                       §
                 Plaintiff                             §
                                                       §
v.
                                                       §        CIVIL ACTION NO. 3:17-CV-2446-D
                                                       §
                                                       §
CENTAURI SPECIALTY INSURNANCE                          §
COMPANY                                                §
               Defendant                               §
     ______________________________________________________________________________

                   PLAINTIFF SAMMI OWENS' FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Sammi Owens, (hereinafter referred to as “Plaintiff”), complaining of Centauri

Specialty Insurance Company, (hereinafter referred to as “Defendant”) and for cause of action would

respectfully show unto this Honorable Court and Jury as follows:

                                        JURISDICTION & VENUE

1. This Honorable Court has jurisdiction and venue is proper because (1) one or more acts or omissions

     forming the basis for liability occurred in Dallas County, Texas, (2) Defendant is a Foreign insurance

     company that engages in the business of insurance in the State of Texas, and (3) Plaintiff’s causes of

     action arise out of Defendant’s business activities in the State of Texas, and (4) Plaintiff seeks monetary

     relief of over $100,000.00 exclusive of interests and costs.

2. Venue lies in the U.S. Northern District of Texas, the district in which the claim arose, pursuant to 28

     U.S.C. § 1391(b).

                                                  PARTIES

3. Plaintiff is a citizen of the state of Texas residing in Dallas County.



_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                         Page | 1
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                           Page 2 of 13 PageID 140


4. Centauri Specialty Insurance Company is incorporated under the laws of Florida and maintains its

    principal place of business in Florida, and thus is a citizen of the state of Florida.

                                       FACTUAL BACKGROUND

5. Plaintiff purchased a policy from Defendant Centauri Specialty Insurance Company, (hereinafter

    referred to as “the Policy”), which was in effect at the time of loss.

6. The Policy was purchased to insure Plaintiff’s property, (hereinafter referred to as “the Property”),

    which is located at 217 Wellington Dr., Desoto, Texas 75115.

7. Defendant Centauri Specialty Insurance Company and/or its agent sold the Policy insuring the Property

    to Plaintiff.

8. Plaintiff is a “consumer” as defined under the Texas Deceptive Trade Practices Act (“DTPA”) because

    he is an individual who sought or acquired by purchase or lease, goods or services, for commercial,

    personal or household use.

9. On or about May 11, 2016, Plaintiff experienced a severe weather-related event which caused

    substantial damage to the Property and surrounding homes and businesses in the area. The Property’s

    damage constitutes a covered loss under the Policy issued by Defendant Centauri Specialty Insurance

    Company. Plaintiff subsequently opened a claim on December 19, 2016 and Defendant Centauri

    Specialty Insurance Company assigned an adjuster to adjust the claim.

10. After the severe hail and wind storm, Plaintiff reported the claim to Defendant. After conducting an

    inadequate inspection, the Defendant ultimately denied the claim. The Defendant’s investigation

    essentially found “insufficient damage” to Plaintiff’s property. Therefore, the Defendant issued

    payment of $95.25. However, this explanation fails to explain how it arrived at its conclusion.

    Defendant fails to provide a reasonable explanation that explains its findings or any other causal link

    thereof. Such conduct by Defendant violates Tex. Ins. Code §541.060(a)(3), which requires Defendant

    to provide Plaintiff with a reasonable explanation of the basis in policy, in relation to the facts or

    applicable law, for its settlement offer.


_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                    Page | 2
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                          Page 3 of 13 PageID 141


11. Further, the Defendant’s inspection report concedes storm damage that is consistent with hail. However,

    it completely fails to address wind damage that is clearly observable from the Public Adjuster’s photos.

    Such conduct violates Tex. Ins. Code §541.060(a)(2)(A); (7) for failure to conduct a reasonable

    investigation and failing in good faith to effectuate a prompt, fair, and equitable settlement of Plaintiff’s

    claim once its liability became reasonably clear.

12. Frustrated by the Defendant’ failure to adequately assess his claim, Plaintiff was forced to bear his own

    costs and retain the services of a public adjuster to assess the damages to his property. The investigation

    by Plaintiff’s public adjuster revealed that the damage to the property was in the amount of $23,343.52.

    The gross disparity between the Defendant’ RCV of $4,275.25 and the public adjuster’s RCV of

    $23,343.52 highlights the Defendant’ failure to attempt in good faith to effectuate a prompt, fair, and

    equitable settlement of Plaintiff’s claim once its liability became reasonably clear. Tex. Ins. Code

    §541.060(a)(2)(A).

13. Plaintiff’s public adjuster’s estimate contains several pages of photos of hail damage to the entire roof,

    including the shingles, roof vent, ridge cap, and other vital components of the roof. Based on the

    investigation, the public adjuster concluded that the roof required complete removal and replacement.

    The public adjuster’s estimate also contains numerous photos of wind damage resulting in severe water

    damage. Defendant’s estimate, on the other hand, accounted for minimal roof damage. Such conduct

    by Defendant further violates Tex. Ins. Code §541.060(a)(2)(A); (7) for failure to conduct a reasonable

    investigation and failing in good faith to effectuate a prompt, fair, and equitable settlement of Plaintiff’s

    claim once its liability became reasonably clear.

14. Thereafter, Defendant Centauri Specialty Insurance Company wrongfully underpaid Plaintiff’s claim

    and refused to issue a full and fair payment for the covered loss as was rightfully owed under the Policy.

15. Defendant made numerous errors in estimating the value of Plaintiff’s claim, as exhibited by its

    assigned adjuster’s method of investigation and estimation of Plaintiff’s loss, all of which were

    designed to intentionally minimize and underpay the loss incurred by Plaintiff. Defendant’s assigned

    adjuster failed to fully quantify Plaintiff’s covered losses, thus demonstrating that Defendant’s assigned
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                          Page | 3
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                        Page 4 of 13 PageID 142


    adjuster did not conduct a thorough investigation of Plaintiff’s claim and/or intentionally adjusted

    Plaintiff’s claim improperly.

16. Specifically, Defendant, independently and through its assigned adjuster, intentionally and knowingly

    conducted a substandard investigation of the Property. This is evidenced by Defendant’s assigned

    adjuster’s estimate, which failed to include all necessary items Plaintiff is entitled to under the Policy

    to place the Property in a pre-loss condition. These necessary items are covered and required under the

    International Building Code and/or International Residential Code, as adopted by the State of Texas in

    2001.

17. In addition, the Occupational Safety and Health Administration (“OSHA”) dictates, when working on

    buildings with “unprotected sides and edges” that “each employee on a walking/working surface

    (horizontal and vertical surface) with an unprotected side or edge which is 6 feet (1.8m) or more above

    a lower level SHALL be protected from falling by the use of guardrail systems, safety net systems, or

    personal fall arrest systems.” Occupational Safety and Health Act of 1970 § 1926.501(b)(1) (emphasis

    added). This protection was intentionally not included or reflected within the scope of work provided

    by Defendant for Plaintiff’s damages to the Property as an attempt to further deny Plaintiff benefits

    owed under the Policy.

18. Defendant’s estimate did not allow for adequate funds to cover the cost of repairs and therefore grossly

    undervalued all of the damages sustained to the Property. As a result of Defendant’s conduct, Plaintiff’s

    claim was intentionally and knowingly underpaid.

19. Defendant’s assigned adjuster acted as an authorized agent of Defendant Centauri Specialty Insurance

    Company. Defendant’s assigned adjuster acted within the course and scope of their authority as

    authorized by Defendant Centauri Specialty Insurance Company. Plaintiff relied on Defendant and

    Defendant’s assigned adjuster to properly adjust the claim regarding the Property and to be issued

    payment to fix such damage, which did not happen and has not been rectified to date.

20. Defendant Centauri Specialty Insurance Company failed to perform its contractual duties to adequately

    compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused to pay the full
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                       Page | 4
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                         Page 5 of 13 PageID 143


    proceeds owed under the Policy. Due demand was made by Plaintiff for proceeds to be in an amount

    sufficient to cover the damaged Property.

21. Defendant and/or Defendant’s assigned agent sold the Policy to Plaintiff, making various statements

    and representations to Plaintiff that the Property would be covered. Relying on the promises and

    representations made by Defendant and/or Defendant’s assigned agent, Plaintiff filed a claim under the

    Policy with the belief that the Property would be covered after a severe weather event such as the one

    that damaged the Property.

22. All conditions precedent to recovery under the Policy had, and have, been carried out and accomplished

    by Plaintiff.

23. As a result of Defendant’s wrongful acts and omissions, Plaintiff was forced to retain the professional

    services of McClenny Moseley & Associates, PLLC, who is representing Plaintiff with respect to these

    causes of action.

                               COUNT ONE BREACH OF CONTRACT

24. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

25. Defendant Centauri Specialty Insurance Company’s conduct constitutes a breach of the insurance

    contract made between Defendant Centauri Specialty Insurance Company and Plaintiff. According to

    the Policy, which Plaintiff purchased, Defendant Centauri Specialty Insurance Company had the

    absolute duty to investigate Plaintiff’s damages, and pay Plaintiff policy benefits for the claims made

    due to the extensive storm-related damages.

26. As a result of the storm-related event, Plaintiff suffered extreme weather-related damages. Despite

    objective evidence of weather related damages provided by Plaintiff and his representatives, Defendant

    Centauri Specialty Insurance Company breached its contractual obligations under the Policy by failing

    to pay Plaintiff cost related benefits to properly repair the Property, as well as for related losses

    associated with the subject loss event. As a result of this breach, Plaintiff has suffered additional actual

    and consequential damages.
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                         Page | 5
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                        Page 6 of 13 PageID 144


27. Defendant breached its contractual obligations by failure to conduct a reasonable investigation and

    failing in good faith to effectuate a prompt, fair, and equitable settlement of Plaintiff’s claim once its

    liability became reasonably clear.

    COUNT TWO VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

28. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

29. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that

    constitute violations of the Texas Deceptive Trade Practices Act (“DTPA”), which is codified in the

    Texas Business and Commerce Code (“TEX. BUS. & COM. CODE”), including but not limited to:

30. Representing that an agreement confers or involves rights, remedies, or obligations which it does not

    have or involve, or which are prohibited by law (TEX. BUS. & COM. CODE § 17.46(b)(12));

31. Misrepresenting the authority of a salesman, representative, or agent to negotiate the final terms of a

    consumer transaction (§ 17.46(b)(14));

32. Failing to disclose information concerning goods or services which were known at the time of the

    transaction, and the failure to disclose such information was intended to induce the consumer into a

    transaction into which the consumer would not have entered had such information been disclosed (§

    17.46(b)(24));

33. Using or employing an act or practice in violation of the Texas Insurance Code (§ 17.50(a)(4));

34. Unreasonably delaying the investigation, adjustment, settlement offer and prompt resolution of

    Plaintiff’s claim (TEX. INS. CODE § 541.060(a)(2)-(5));

35. Failure to properly investigate Plaintiff’s claim (§ 541.060(7)); and/or

36. Hiring and relying upon a biased adjuster, in this case Defendant’s assigned adjuster, to obtain a

    favorable, results-oriented report, and to assist Defendant in severely underpaying and/or denying

    Plaintiff’s damage claim (TEX. BUS. & COM. CODE § 17.46(31)).

37. As described in this First Amended Complaint, Defendant Centauri Specialty Insurance Company

    represented to Plaintiff that his Policy and Centauri Specialty Insurance Company’s adjusting and
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                       Page | 6
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                        Page 7 of 13 PageID 145


    investigative services had characteristics or benefits that it actually did not have, which gives Plaintiff

    the right to recover proceeds. TEX. BUS. & COM. CODE § 17.46(b)(5).

38. As described in this First Amended Complaint, Defendant Centauri Specialty Insurance Company

    represented to Plaintiff that his Policy and Centauri Specialty Insurance Company’s adjusting and

    investigative services were of a particular standard, quality, or grade when they were of another, which

    stands in violation of § 17.46 (b)(7).

39. By Defendant Centauri Specialty Insurance Company representing that they would pay the entire

    amount needed by Plaintiff to repair the damages caused by the weather-related event and then not

    doing so, Defendant has violated §§ 17.46 (b)(5), (7), (12).

40. Defendant Centauri Specialty Insurance Company has breached an express warranty that the damage

    caused by the storm-related event would be covered under Policy. This breach entitles Plaintiff to

    recover under §§ 17.46 (b) (12), (20); 17.50 (a)(2).

41. Defendant Centauri Specialty Insurance Company’s actions, as described herein, are unconscionable

    in that Defendant took advantage of Plaintiff’s lack of knowledge, ability, and experience to a grossly

    unfair degree. Therefore, Defendant’s unconscionable conduct gives Plaintiff the right to relief under

    § 17.50(a)(3).

42. Defendant Centauri Specialty Insurance Company’s conduct, acts, omissions, and failures, as described

    in this First Amended Complaint, are unfair practices in the business of insurance and are in violation

    of § 17.50 (a)(4).

43. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false, misleading, and/or

    deceptive acts and/or practices, made by Defendant Centauri Specialty Insurance Company, to his

    detriment. As a direct and proximate result of Defendant’s collective acts and conduct, Plaintiff has

    been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which

    Plaintiff now sues. All of the aforementioned acts, omissions, and failures of Defendant are a producing

    cause of Plaintiff’s damages which are described in this First Amended Complaint.


_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                        Page | 7
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                          Page 8 of 13 PageID 146


44. Because Defendant’s collective actions and conduct were committed knowingly and intentionally, in

    addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and

    additional penalty damages, in an amount not to exceed three times such actual damages. § 17.50(b)(1).

45. As a result of Defendant’s unconscionable, misleading, and deceptive actions and conduct, Plaintiff has

    been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims

    on his behalf. Accordingly, Plaintiff also seeks to recover his costs and reasonable and necessary

    attorney’s fees as permitted under § 17.50(d), as well as any other such damages to which Plaintiff may

    show himself to be justly entitled by law and in equity.

               COUNT THREE VIOLATIONS OF THE TEXAS INSURANCE CODE

46. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the foregoing

    paragraphs.

47. Defendant and/or its assigned adjuster’s actions constitute violations of the Texas Insurance Code

    (“TEX. INS. CODE”), Chapters 541 and 542, including but not limited to:

48. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the coverage at issue (TEX.

    INS. CODE § 541.060(a)(1));

49. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable settlement of a claim with

    respect to which the insurer’s liability has become reasonably clear (§ 541.060(a)(2)(A));

50. Failing to promptly provide to a policyholder a reasonable explanation of the basis in the policy, in

    relation to the facts or applicable law, for the insurer’s denial of a claim or for the offer of a compromise

    settlement of a claim (§ 541.060(a)(3));

51. Failing to affirm or deny coverage of Plaintiff’s claim within a reasonable time and failing within a

    reasonable time to submit a reservation of rights letter to Plaintiff (§ 541.060(a)(4));

52. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other coverage is

    available (§ 541.060 (a)(5));

53. Refusing, to pay a claim without conducting a reasonable investigation with respect to the claim (§

    541.060(a)(7));
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                          Page | 8
   Case 3:17-cv-02446-D Document 15 Filed 10/12/17                        Page 9 of 13 PageID 147


54. Forcing Plaintiffs to file suit to recover amounts due under the policy by refusing to pay all benefits

    due (§ 542.003(b)(5));

55. Misrepresenting an insurance policy by failing to disclose any matter required by law to be disclosed,

    including a failure to make such disclosure in accordance with another provision of this code (§

    541.061(5));

56. Engaging in false, misleading, and deceptive acts or practices under the DTPA (§541.151(2));

57. Failing to acknowledge receipt of the claim, commence any investigation of the claim, and request from

    the claimant all items, statements, and forms the insurer reasonably believes at that time will be required

    from the claimant no later than the 15th day after the receipt of notice of the claim (§ 542.055);

58. Failing to notify the claimant in writing of the acceptance or rejection of a claim no later than the 15th

    business day after the insurer receives all items, statements, and forms required by the insurer to secure

    a final proof of loss (§ 542.056(a));

59. Failing to state the reasons for rejection (§ 542.056(c));

60. Failing to notify the claimant of the reasons that the insurer needs 45 days in additional time to accept

    or reject the claim (§ 542.056(d));

61. Failing to pay a claim not later than the 5th business day after the date of notice of acceptance was

    made (§ 542.057); and/or

62. Failing to pay a valid claim after receiving all reasonably requested and required items from the insured.

    (§ 542.058(a)).

63. By its acts, omissions, failures and conduct, Defendant Centauri Specialty Insurance Company has

    engaged in unfair and deceptive acts and practices in the business of insurance. Plaintiff, the insured

    and beneficiary, has a valid claim as a result of his detrimental reliance upon Defendant Centauri

    Specialty Insurance Company’s unfair or deceptive acts or practices. § 541.151(2).

64. Defendant’s aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due

    under the Policy, by offering substantially less than the amount ultimately recovered. Defendant refused

    to offer more than the grossly undervalued estimates prepared by Defendant Centauri Specialty
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                        Page | 9
  Case 3:17-cv-02446-D Document 15 Filed 10/12/17                         Page 10 of 13 PageID 148


    Insurance Company and/or Defendant’s assigned adjuster, despite knowing the actual damages were

    much greater than what was offered. Defendant’s continued refusal to offer compelled Plaintiff to file

    suit. § 542.003(5).

65. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because Defendant

    Centauri Specialty Insurance Company’s actions and conduct were committed knowingly and

    intentionally, Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish

    damages and additional penalty damages, in an amount not to exceed three times the amount of actual

    damages, for Defendant having knowingly, intentionally and/or negligently committed said actions and

    conduct. § 541.152.

66. As a result of Defendant Centauri Specialty Insurance Company’s unfair and deceptive actions and

    conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect

    and pursue these claims on his behalf. Accordingly, Plaintiff also seeks to recover his costs and

    reasonable and necessary attorney’s fees as permitted under TEX. BUS. & COM. CODE § 17.50(d) or

    TEX. INS. CODE § 541.152 and any other such damages to which Plaintiff may show himself justly

    entitled by law and in equity.

                     COUNT FOUR BREACH OF THE COMMON LAW DUTY
                            OF GOOD FAITH & FAIR DEALING

67. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.

68. From and after the time Plaintiff’s claim was presented to Defendant Centauri Specialty Insurance

    Company, the liability of Defendant to pay the full claim in accordance with the terms of the Policy

    was more than reasonably clear. However, Defendant has refused to pay Plaintiff in full, despite there

    being no basis whatsoever on which a reasonable insurance company would have relied on to deny full

    payment. Defendant’s conduct constitutes a breach of the common law duty of good faith and fair

    dealing. See Viles v. Security National Ins. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an

    insurer has a duty to its insureds to “investigate claims thoroughly and in good faith” and an insurer



_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                        Page | 10
  Case 3:17-cv-02446-D Document 15 Filed 10/12/17                        Page 11 of 13 PageID 149


    can only deny a claim after a thorough investigation shows that there is a reasonable basis to deny that

    claim).

69. For the breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

    compensatory damages, including all forms of loss resulting from Defendant’s breach of the duty, such

    additional costs, economic hardship, losses due to nonpayment of the amount owed to Plaintiff, and/or

    exemplary damages for emotional distress.

                                                DAMAGES

70. Plaintiff will show that all of the aforementioned acts, taken together or singularly, constitute the

    producing causes of the damages sustained by Plaintiff.

71. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff’s bargain, which is the

    amount of Plaintiff’s claim, together with attorney’s fees.

72. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to

    actual damages, which include the loss of the benefit that should have been paid pursuant to the Policy,

    court costs and attorney’s fees. For knowing conduct of the acts complained of, Plaintiff asks for three

    times Plaintiff’s actual damages. TEX. INS. CODE § 541.152.

73. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled to the

    amount of Plaintiff’s claim, interest on the claim at the rate of eighteen (18) percent per year, together

    with attorney’s fees. § 542.060.

74. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory

    damages, including all forms of loss resulting from the insurer’s breach of duty, such as additional

    costs, economic hardship, losses due to nonpayment of the amount the insurer owed, and/or exemplary

    damages for emotional distress.

75. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of

    the law firm whose name is subscribed to this pleading. Therefore, Plaintiff is entitled to recover a sum

    for the reasonable and necessary services of Plaintiff’s attorneys in the preparation and trial of this

    action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                      Page | 11
  Case 3:17-cv-02446-D Document 15 Filed 10/12/17                          Page 12 of 13 PageID 150


76. Defendant’s acts have been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff

    seeks an amount in excess of the minimum jurisdictional limits of this Court.

77. More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties, costs,

    expenses, pre-judgment interest, and attorney’s fees, in excess of $200,000.00 but less than

    $1,000,000.00.

                               ADDITIONAL DAMAGES & PENALTIES

78. Defendant’s conduct was committed knowingly and intentionally. Accordingly, Defendant is liable for

    additional damages under the DTPA, TEX. BUS. & COM. CODE § 17.50(b)(1), as well as all operative

    provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under

    TEX. INS. CODE § 542.060.

                                           ATTORNEY’S FEES

79. In addition, Plaintiff is entitled to all reasonable and necessary attorney’s fees pursuant to the Texas

    Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE §§ 38.001-.005.

                                              JURY DEMAND

80. Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 8(b).

                                               CONCLUSION

81. Plaintiff prays that judgment be entered against Defendant Centauri Specialty Insurance Company and

    that Plaintiff be awarded all of his actual damages, consequential damages, prejudgment interest,

    additional statutory damages, post judgment interest, reasonable and necessary attorney’s fees, court

    costs and for all such other relief, general or specific, in law or in equity, whether pled or un-pled within

    this First Amended Complaint.

                                                  PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays he be awarded all such relief to which

he is due as a result of the acts of Defendant Centauri Specialty Insurance Company, and for all such other

relief to which Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of

treble damages under the Texas Insurance Code, attorney’s fees for the trial and any appeal of this lawsuit,
_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                        Page | 12
  Case 3:17-cv-02446-D Document 15 Filed 10/12/17                        Page 13 of 13 PageID 151


for all costs of Court on his behalf expended, for pre-judgment and post-judgment interest as allowed by

law, and for any other and further relief, either at law or in equity, to which Plaintiff may show the himself

to be justly entitled.

                                                  Respectfully submitted,

                                                  /s/ Chidi Oha___                      ______
                                                  McCLENNY MOSELEY & ASSOCIATES, PLLC
                                                  James M. McClenny
                                                  State Bar No. 24091857
                                                  J. Zachary Moseley
                                                  State Bar No. 24092863
                                                  Chidi Oha
                                                  State Bar No. 24094877
                                                  411 N. Sam Houston Parkway E., Suite 200
                                                  Houston, Texas 77060
                                                  Principal Office No. 713-334-6121
                                                  Facsimile: 713-322-5953
                                                  James@mma-pllc.com
                                                  Zach@mma-pllc.com
                                                  Chidi@mma-pllc.com
                                                  Attorneys for Plaintiff




_____________________________________________________________________________________________
Plaintiff Sammi Owens’ First Amended Complaint                                                      Page | 13
